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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001 03 MDL 1570 (GBD)

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This document relates to:

02 CV 6977 (GBD)

03 CV 6978 (GBD)

GEORGE B. DANIELS, District Judge:
Defendant Sana-Bell, Inc.’s motions’ seeking to dismiss the complaints against it, on the

grounds that the defendant-corporation no longer exists, are denied.

Dated: New York, New York
July 27, 2007

SO ORDERED:

Sissy, B Piruke

RORGE B. DANIELS
CS CROR States District Judge

' The motions are reflected on the docket sheet as documents 1804, 1867, and 1873.
